
Weaver, J.
(dissenting). I would grant plaintiffs’ motion for reconsideration and reverse the holding1 of the majority of four (Chief Justice Taylor and Justices Corrigan, Young, and Markman) that plaintiffs do not have standing to bring a claim under the Michigan environmental protection act2 with respect to the Osprey Lake Impoundment and wetlands 112, 115, and 301.
Further, I would grant plaintiffs’ motion for reconsideration to consider whether the majority of four’s holding violated plaintiffs’ right “to petition the Government for a redress of grievances,” a right guaranteed by the First Amendment of the United States Constitution.3 The importance of this issue stems not only from the instant case, but also from various other holdings by the same majority denying citizens protection of the laws and access to the Michigan court system, even when legal rights may have been violated. See Kreiner v Fischer, 471 Mich 109 (2004) (reducing no-fault insurance rights); Maldonado v Ford Motor Co, 476 Mich 372 (2006) (preventing trial by jury); Bierlein v Schneider, 478 Mich 893 (2007) (preventing an injured child from utilizing an existing Michigan court rule to collect a settlement); and Trentadue v Buckler Automatic Lawn Sprinkler Co, 479 Mich 378 (2007) (eliminating the common-law discovery rule, thereby depriving a plaintiff of an opportunity to file a good-faith claim and of access to courts).

 Michigan Citizens for Water Conservation v Nestlé Waters North America Inc, 479 Mich 280 (2007).


 MCL 324.1701 et seq.


 US Const, Am I forbids Congress, in pertinent part, from passing laws abridging “the right of the people peaceably to assemble, and to petition the Government for a redress of grievances.” The First Amendment applies to the states through the Fourteenth Amendment. Mills v Alabama, 384 US 214, 218 (1966).

